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     Attorney for Defendant
 5
     MANUEL HERRERA
 6
                           IN THE UNITED STATES MAGISTRATE COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                        )       No. CR-S-11-CR-296 WBS
                                                      )
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                                                      )
            Plaintiff,                                )       AMENDED STIPULATION AND
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                                                      )       PROPOSED ORDER ALLOWING MANUEL
     v.                                               )       HERRERA TO TRAVEL TO MEXICO IN
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                                                      )       ORDER TO VISIT HIS AILING MOTHER
     MANUEL HERRERA,                                  )
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                                                      )
                                                      )
14          Defendant.                                )
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            IT IS HEREBY STIPULATED AND AGREED between defendant Manuel Herrera, by
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     and through his undersigned defense counsel, and the United States of America by and through
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     its counsel, Assistant U.S. Attorney Lee Bickley, Mr. Herrera may, with the permission of his
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     Pre-Trial Services Officer, and pursuant to such conditions as required by his Pre-Trial Services
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     Officer, travel to Mexico at any time between April 5, 2013 and April 15, 2013 for the purpose
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     of visiting his sick mother. (Mr. Herrera's mother is recuperating from a cardiac incident.) It is
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     further stipulated Mr. Herrera must check-in with his Pre-Trial Services Officer as required by
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     his Pre-Trial Services Officer. Pre-Trial Services shall return Mr. Herrera's passport to him no
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     later than April 3, 2013. Mr. Herrera must return to the United States by April 15, 2013 and
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     must check in with, and surrender his passport to, his Pre-Trial Services Officer within 24 hours
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     of returning to the United States, but in any event, no later than April 16, 2013.
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 1          Mr. Herrera originally asked, and the Court agreed, to travel to Mexico between April 1,
 2   2013 and April 10, 2013. Unfortunately, for scheduling reasons, it is not possible for Mr.
 3   Herrera to travel as originally planned (and requested) and he is requesting the Court modify his
 4   proposed travel as indicated herein.
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 6   IT IS SO STIPULATED.
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 8   Dated: March 24, 2013                                /S/ John R. Manning
                                                         JOHN R. MANNING
 9
                                                         Attorney for Defendant
10                                                       Manuel Herrera

11

12
     Dated: March 24, 2013                                /S/Lee Bickley
13                                                       LEE BICKLEY
                                                         Assistant United States Attorney
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     IT IS SO ORDERED,
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     Dated: March 27, 2013
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19                                                       ALLISON CLAIRE
                                                         UNITED STATES MAGISTRATE JUDGE
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